         Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 1 of 18 Page ID #:1



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10

11
                                 UNITED STATES DISTRICT COURT
12
                            CENTRAL DISTRICT OF CALIFORNIA
13

14   SOCHETRA SAO, an individual,               Case No.
15                  Plaintiff,                  DEFENDANT KELLY SERVICES
                                                USA, LLC’S NOTICE OF REMOVAL
16         v.
                                                Orange County Superior Court
17   KELLY SERVICES USA, LLC, a                 Case No. 30-2021-01201119-CU-WT-CJC
     California Corporation; PHILLIPS-
18   MEDISIZE COSTA MESA, LLC, a                Complaint Filed: May 13, 2021
     California Corporation; and DOES 1         Trial Date: None.
19   through 10, inclusive,
20                  Defendants.
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                DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
            Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 2 of 18 Page ID #:2



 1                                                TABLE OF CONTENTS
 2   I.      PROCEDURAL BACKGROUND IN STATE COURT .......................................... 1
 3   II.     TIMELINESS OF REMOVAL ................................................................................. 2
 4   III.    DIVERSITY JURISDICTION .................................................................................. 2
 5           A.       There Is Complete Diversity Of Citizenship In This Case ............................. 2
 6                    1.        Plaintiff Is A Citizen Of California....................................................... 2
 7                    2.        Kelly Is Not A Citizen Of California .................................................... 3
 8                    3.        Phillips-Medisize Costa Mesa, LLC Is Not A Citizen Of
                                California .............................................................................................. 4
 9
                      4.        Doe Defendants Should Be Disregarded .............................................. 6
10
             B.       The Amount In Controversy Requirement Has Been Met .............................. 6
11
                      1.        Standard To Demonstrate Amount In Controversy .............................. 6
12
                      2.        Plaintiff’s Alleged Loss Of Earnings Exceeds $75,000 ....................... 8
13
                      3.        General And Punitive Damages Exceed $75,000 ................................. 9
14
                      4.        Attorneys’ Fees Exceed $75,000 ........................................................ 10
15
     IV.     VENUE .................................................................................................................... 11
16
     V.      SERVICE OF NOTICE OF REMOVAL ON PLAINTIFF AND THE
17           CLERK OF THE SUPERIOR COURT .................................................................. 12
18   VI.     PRAYER FOR REMOVAL .................................................................................... 12
19

20

21

22

23

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25

26

27

28

                                            i
                  DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
           Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 3 of 18 Page ID #:3



 1                                              TABLE OF AUTHORITIES
 2
                                                                                                                             Page(s)
 3
     Federal Cases
 4
     Ackerman v. Western Elec. Co., Inc.,
 5
        643 F. Supp. 836 (N.D. Cal. 1986) ................................................................................. 7
 6
     Cassino v. Reichhold Chemicals, Inc.,
 7     817 F.2d 1338 (9th Cir. 1997) ........................................................................................ 6
 8
     Conrad Assoc. v. Hartford Accident & Indem. Co.,
 9     994 F. Supp. 1196 (N.D. Cal. 1998) ............................................................................... 5
10   Crum v. Circus Circuit Enters.,
11     231 F.3d 1129 (9th Cir. 2000) ........................................................................................ 6
12   Dart Cherokee Basin Operating Co., LLC v. Owens,
       135 S.Ct. 547 (2014) ....................................................................................................... 5
13

14   Davenport v. Mutual Benefit Health & Accident Ass’n,
       325 F.2d 785 (9th Cir. 1963) ...................................................................................... 5, 8
15
     In re Digimarc Corp. Derivative Litig.,
16
         549 F.3d 1223 (9th Cir. 2008) ........................................................................................ 2
17
     Exxon Mobil Corp. v. Allapattah Servs., Inc.,
18      545 U.S. 546 (2005) ........................................................................................................ 2
19
     Fristos v. Reynolds Metals Co.,
20      615 F.2d 1209 (9th Cir. 1980) ........................................................................................ 4
21   Fritsch v. Swift Transp.,
22      899 F. 3d 785 (9th Cir. 2018) ......................................................................................... 8
23   Gallegos v. Los Angeles City College,
24
       2003 WL 23336379, Case No. SC270424 (Los Angeles County Sup. Ct.
       Oct. 16, 2003) ................................................................................................................. 9
25
     Galt, 142 F.3d at 1156 ......................................................................................................... 8
26

27
     Glenn-Davis v. City of Oakland,
        No. C 02-2257 SI, 2008 WL 410239 (N.D. Cal. 2008) ................................................. 6
28

                                            ii
                   DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
           Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 4 of 18 Page ID #:4



 1   Guglielmino v. McKee Foods Corp.,
 2     506 F.3d 696 (9th Cir. 2007) .......................................................................................... 5

 3   Hertz Corp. v. Friend,
       559 U.S. 77, 130 S.Ct. 1181 (2010)................................................................................ 3
 4

 5   James v. Childtime Childcare, Inc.,
       No. Civ. S-06-2676 DFL DAD, 2007 WL 1589543 (E.D. Cal. June 1,
 6     2007) ............................................................................................................................... 6
 7
     Johnson v. Columbia Props. Anchorage,
 8      LP, 437 F.3d 894 (9th Cir. 2006)................................................................................ 3, 4
 9   Kanter v. Warner-Lambert Co.,
10     265 F.3d 853 (9th Cir. 2001) .......................................................................................... 2
11   Kantor v. Wellesley Galleries, Ltd.,
       704 F.2d 1088 (9th Cir. 1983) ........................................................................................ 2
12

13   Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.,
       119 S. Ct. 1322 (1999) .................................................................................................... 2
14
     Sanchez v. Monumental Life Ins. Co.,
15
        102 F.3d 398 (9th Cir. 1996) .......................................................................................... 5
16
     Secru v. Laboratory Corp. of America,
17      No. 3:09–cv–0619–LRH–RAM, 2009 WL 3755763 (D. Nev. Nov. 9,
18      2009) ............................................................................................................................... 6
19   Singer v. State Farm Mut. Auto Ins. Co.,
20
        116 F.3d 373 (9th Cir. 1997) .......................................................................................... 5

21   State Farm Mut. Auto Ins. Co. v. Dyer,
        19 F.3d 514 (10th Cir. 1994) .......................................................................................... 2
22

23
     Thompson v. Big Lots Stores, Inc.,
       No. 1:16-cv-01464-LJO-JLT, 2017 WL 590261 (E.D. Cal. 2017) ............................ 7, 8
24
     Traxler v. Multnomah Cty.,
25      569 F.3d 1007 (9th Cir. 2010) ........................................................................................ 6
26
     Valdez v. Allstate Ins. Co.,
27      372 F.3d 1115 (9th Cir. 2004) ........................................................................................ 5
28

                                            iii
                   DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
           Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 5 of 18 Page ID #:5



 1   Ward v. Cadbury Schweppes Bottling Grp.,
 2     09CV03279, 2011 WL 7447633 (C.D. Cal) ................................................................... 7

 3   State Cases
 4   Davis v. Robert Bosch Tool Corp.,
 5     No. B185408, 2007 WL 2014301 (Cal. Ct. App. 2d. Dist. July 13, 2007) .................... 9

 6   Horsford v. Bd. of Trs. of Cal. State Univ.,
       132 Cal. App. 4th 359 (2005) ......................................................................................... 8
 7

 8   Federal Statutes
 9   28 U.S.C. § 84(c)(2) ............................................................................................................. 9
10   28 U.S.C. § 133 .................................................................................................................... 4
11
     28 U.S.C. § 1332 .............................................................................................................. 1, 2
12
     28 U.S.C. § 1332(a) ............................................................................................................. 9
13
     28 U.S.C. § 1332(c) ............................................................................................................. 4
14

15   28 U.S.C. § 1332(c)(1) ..................................................................................................... 3, 4
16   28 U.S.C. § 1441 .............................................................................................................. 1, 9
17   28 U.S.C. § 1441(a) ......................................................................................................... 4, 9
18
     28 U.S.C. § 1441(b) ............................................................................................................. 9
19
     28 U.S.C. § 1446 .................................................................................................................. 1
20
     28 U.S.C. § 1446(a) ............................................................................................................. 9
21

22   28 U.S.C. § 1446(b) ............................................................................................................. 2
23   28 U.S.C. § 1446(d) ............................................................................................................. 9
24   State Statutes
25
     California Government Code § 12940 ................................................................................. 1
26
     California Government Code § 12965(b) ............................................................................ 8
27

28

                                            iv
                   DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
         Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 6 of 18 Page ID #:6



 1   Other Authorities
 2
     Aboulafia v. GACN Inc.,
 3     No. BC469940, 2013 WL 8115991 (Los Angeles Sup. Ct.) .......................................... 7
 4   Crawford v. DIRECTV, Inc.,
 5     No. BC417507, 2010 WL 5383296 (Los Angeles County Sup. Ct.) ............................. 9

 6   Denenberg v. Cal. Dep’t of Transp.,
       No. GIC836582, 2006 WL 5305734 (San Diego County Sup. Ct.) ............................... 9
 7

 8   Leimandt v. Mega RV Corp.,
        No. 30-2010-00388086, 2011 WL 2912831 (Orange County Sup. Ct.) ........................ 7
 9
     Welch v. Ivy Hill Corp.,
10
       No. BC414667, 2011 WL 3293268 (Los Angeles Sup. Ct.) .......................................... 7
11

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                                         v
               DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
          Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 7 of 18 Page ID #:7



 1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
 2   OF CALIFORNIA AND TO PLAINTIFF AND HIS COUNSEL OF RECORD:
 3         PLEASE TAKE NOTICE THAT Defendant Kelly Services USA, LLC (“Kelly”)
 4   hereby removes the above-referenced action from the Superior Court of the State of
 5   California for the County of Orange, to the United States District Court for the Central
 6   District of California. This removal is made pursuant to 28 U.S.C. §§1441 and 1446,
 7   asserting original federal jurisdiction on the basis of diversity, codified in relevant part at
 8   28 U.S.C. §1332. Kelly states that removal is proper based on diversity jurisdiction because
 9   this is an action between citizens of different states and the amount in controversy exceeds
10   $75,000.
11   I.    PROCEDURAL BACKGROUND IN STATE COURT
12         On May 13, 2021, Plaintiff Sochetra Sao (“Plaintiff”) filed a Complaint entitled,
13   “SOCHETRA SAO, Plaintiff v. KELLY SERVICES USA, LLC.; PHILLIPS-MEDISIZE
14   COSTA MESA, LLC; and DOES 1 through 10, inclusive, Defendants” (“Complaint”),
15   Orange County Superior Court Case No. 30-2021-01201119-CU-WT-CJC. The Complaint
16   alleges two causes of action for: (1) Retaliation in Violation of California Government
17   Code Section 12940 (Engaging in A Protected Activity); and (2) Wrongful Termination in
18   Violation of Public Policy. A true and correct copy of the Complaint is attached hereto as
19   Exhibit 1.
20         On June 7, 2021, Kelly was served with copies of the Summons, Complaint, Notice
21   of Case Management Conference, and Civil Case Cover Sheet through its agent for service
22   of process, The Corporation Company, in Los Angeles, California. See concurrently filed
23   Declaration of Nathaniel Reyes (“Reyes Decl.”) at ¶3 and Exhibit A (service package).
24         Kelly filed its Answer in the Orange County Superior Court on July 6, 2021. See
25   concurrently filed Declaration of Kiran Lopez (“Lopez Decl.”) at ¶3. A true and correct
26   copy of Kelly’s Answer is attached hereto as Exhibit 2.
27         Exhibits 1 and 2 attached hereto and Exhibit A to the concurrently filed Reyes
28   Declaration constitute all of the pleadings served on Kelly and/or filed by Kelly in the


                DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
            Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 8 of 18 Page ID #:8



 1   Orange County Superior Court prior to filing of this Notice of Removal. See Lopez. Decl.
 2   at ¶4. A Case Management Conference is on calendar in the Orange County Superior Court
 3   for October 21, 2021. Id.
 4   II.     TIMELINESS OF REMOVAL
 5           This Notice of Removal is timely filed as it is filed less than one year from the date
 6   this action was commenced and within 30 days of service on Kelly, the moving Defendant.
 7   28 U.S.C. §1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 119 S. Ct. 1322,
 8   1325 (1999) (thirty-day deadline to remove commences upon service of the summons and
 9   complaint).
10   III.    DIVERSITY JURISDICTION
11           Subject matter jurisdiction on the basis of diversity of citizenship requires that: (1)
12   there is complete diversity of citizenship between plaintiff and defendants; and (2) “the
13   matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.”
14   28 U.S.C. §1332.
15           A.     There Is Complete Diversity Of Citizenship In This Case
16           The complete diversity requirement merely means that all plaintiffs must be of
17   different citizenship than all defendants, and any instance of common citizenship “deprives
18   the district court of original diversity jurisdiction over the entire action.” Exxon Mobil
19   Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 553 (2005). A party’s citizenship is
20   determined at the time the lawsuit was filed. In re Digimarc Corp. Derivative Litig., 549
21   F.3d 1223, 1236 (9th Cir. 2008) (“[T]he jurisdiction of the court depends upon the state of
22   things at the time of the action [was] brought.”). In the present case, the parties have
23   complete diversity of citizenship at the time the lawsuit was filed because Plaintiff’s
24   citizenship is diverse from Kelly’s and Phillips’ citizenship.
25                  1.    Plaintiff Is A Citizen Of California
26           For diversity purposes, a person is a “citizen” of the state in which he or she is
27   domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983) (“To
28   show state citizenship for diversity purposes under federal common law a party must . . .

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                  DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
         Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 9 of 18 Page ID #:9



 1   be domiciled in the state.”). A person’s domicile is the place he resides with the intent to
 2   remain indefinitely. Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001) (“A
 3   person’s domicile is her permanent home, where she resides with the intention to remain
 4   or to which she intends to return.”). Residence is prima facie evidence of domicile. State
 5   Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994) (“the place of residence
 6   is prima facie the domicile”).
 7         Plaintiff alleges that he “is, and at all times mentioned herein, a resident of the
 8   County of Los Angeles, and is a citizen of the State of California.” Complaint at ¶1. Based
 9   on Kelly’s records, the only home address listed for Plaintiff was in Long Beach,
10   California. Reyes Decl. at ¶4.
11         Therefore, Kelly is informed and believes that at all relevant times for the purposes
12   of this removal, Plaintiff is and has been a citizen of the State of California.
13                2.     Kelly Is Not A Citizen Of California
14         In a removal, a limited liability company is treated as a partnership for purposes of
15   diversity, and is a citizen of every state of which its members are citizens. Johnson v.
16   Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). A corporation is
17   deemed to be a citizen of any state in which it has been incorporated and of any state where
18   it has its principal place of business. 28 U.S.C. § 1332(c)(1). The “principal place of
19   business” for the purpose of determining diversity subject matter jurisdiction refers to “the
20   place where a corporation’s officers direct, control, and coordinate the corporation’s
21   activities .… [I]n practice it should normally be the place where the corporation maintains
22   its headquarters-provided that the headquarters is the actual center of direction, control,
23   and coordination, i.e., the ‘nerve center,’ and not simply an office where the corporation
24   holds its board meetings[.]” See Hertz Corp. v. Friend, 559 U.S. 77, 92-93, 130 S.Ct. 1181,
25   1192 (2010).
26         Kelly is now, and was at the time of the filing of this action, a limited liability
27   company organized and formed under the laws of the State of Delaware. Reyes Decl. at ¶5.
28   Kelly’s sole member is Kelly Services, Inc. (“KSI”). Id.

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               DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
         Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 10 of 18 Page ID #:10



 1          KSI is incorporated in the State of Delaware, with its principal place of business and
 2   headquarters in Troy, Michigan. Reyes Decl. at ¶6. All of KSI’s corporate executives,
 3   including its CEO, CFO, President, and its senior leadership team, including a majority of
 4   its Senior Vice Presidents, have been and continue to be based in Troy, Michigan. Id. All
 5   of KSI’s corporate executives and the majority of its Senior Vice Presidents have
 6   maintained and continue to maintain their offices in Troy, Michigan, and have performed
 7   and continue to perform their primary duties and job functions in Troy, Michigan. Id. None
 8   of KSI’s corporate executives are located outside of Troy, Michigan. Id. Additionally,
 9   KSI’s executive and administrative operations are managed from its Troy, Michigan
10   corporate headquarters, including but not limited to those operations relating to the setting
11   and administering of its company-wide policies and procedures, finance, payroll, human
12   resources, legal affairs, and the general business operations of KSI. Id. at ¶7.
13          Therefore, at all times since Plaintiff commenced this lawsuit, Kelly is and has been
14   a citizen of a state other than California within the meaning of 28 U.S.C. § 1332(c)(1). At
15   all relevant times, Kelly is and has been a citizen of the States of Delaware and Michigan.
16                 3.     Phillips-Medisize Costa Mesa, LLC Is Not A Citizen Of California1
17          As noted above, for the purposes of diversity jurisdiction, a limited liability company
18   is treated as a partnership for purposes of diversity, and citizenship depends on the
19   citizenship of each of its members. Johnson v. Columbia Props. Anchorage, LP, 437 F.3d
20   894, 899 (9th Cir. 2006); 28 U.S.C. § 1332(c)(1) (a corporation is deemed to be a citizen
21   of any state in which it has been incorporated and of any state where it has its principal
22   place of business). Defendant Phillips-Medisize Costa Mesa, LLC’s (“Phillips”) is a
23   limited liability company formed under the laws of Delaware. See Declaration of Diane
24   Vinh at ¶4. Phillips-Medisize has one member and is a wholly owned subsidiary of Molex,
25   LLC. (“Molex”). Id. at ¶5. Molex is a limited liability company formed under the laws of
26   Delaware with its principal place of business in Lisle, Illinois. Id. at ¶6. Molex’s
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28    Phillips-Medisize Costa Mesa, LLC does not oppose, and intends to file a Joinder to, this Notice of
     Removal. Lopez Decl. at ¶5.
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               DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
        Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 11 of 18 Page ID #:11



 1   headquarters are located in Lisle, Illinois. Id. at ¶7. Molex’s primary financial and
 2   administrative offices are located in its headquarters in Illinois. Id. Additionally, the
 3   majority of Molex’s executives, officers, and directors are located at, and direct, control,
 4   and coordinate Molex’s activities primarily from its headquarters in Illinois. Id. Molex has
 5   one member and is a wholly owned subsidiary of MLX Electronic Holdings, LP, formed
 6   under the laws of Delaware. Id. at ¶8. MLX Electronic Holdings, LP is member managed
 7   by its General Partner, MLX Integrated Products (GP), LLC, the officers and directors of
 8   which are primarily located at, and direct, control, and coordinate MLX Electronic
 9   Holdings, LP’s activities from MLX Integrated Products (GP), LLC’s headquarters in
10   Illinois. Id. at ¶9. MLX Integrate Products (GP), LLC, has one member and is a wholly
11   owned subsidiary of MLX Integrated Holdings, LLC, which is a limited liability company
12   formed under the laws of Delaware, the officers and directors of which are primarily
13   located at, and direct, control, and coordinate MLX Integrated Holdings, LLC’s activities
14   from its headquarters in Illinois. Id. at ¶10.
15         MLX Integrated Holdings, LLC, has one member and is a wholly owned subsidiary
16   of MLX Worldwide Investments, LLC, which is a limited liability company formed under
17   the laws of Delaware, the officers and directors of which are primarily located at, and
18   direct, control, and coordinate MLX Worldwide Investments, LLC’s activities from its
19   headquarters in Illinois. Id. at ¶11. MLX Worldwide Investments, LLC, has one member
20   and is a wholly owned subsidiary of Molex Connectors, LLC, which is a limited liability
21   company formed under the laws of Delaware, the officers and directors of which are
22   primarily located at, and direct, control, and coordinate Molex Connectors, LLC’s activities
23   from its headquarters in Illinois. Id. at ¶12. Molex Connectors, LLC has one member and
24   is a wholly owned subsidiary of Molex Electronic Technologies, LLC, which is a limited
25   liability company formed under the laws of Delaware, the officers and directors of which
26   are primarily located at, and direct, control, and coordinate Molex Electronic Technologies,
27   LLC’s activities from its headquarters in Illinois. Id. at ¶13.
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               DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
        Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 12 of 18 Page ID #:12



 1         Molex Electronic Technologies, LLC has one member and is a wholly owned
 2   subsidiary of Molex Electronic Technologies Holdings, LLC, which is a limited liability
 3   company formed under the laws of Delaware, the officers and directors of which are
 4   primarily located at, and direct, control, and coordinate Molex Electronic Technologies
 5   Holdings, LLC’s activities from its headquarters in Illinois. Id. at ¶14. Molex Electronic
 6   Technologies Holdings, LLC has one member and is a wholly owned subsidiary of Koch
 7   Industries, Inc., which is a corporation organized under the laws of Kansas, the officers
 8   and directors of which are primarily located at, and direct, control, and coordinate Koch’s
 9   activities from its headquarters in Kansas. Id. at ¶15.
10         Therefore, at all times since Plaintiff commenced this lawsuit, Phillips is and has
11   been a citizen of a state other than California within the meaning of 28 U.S.C. § 1332(c)(1).
12   At all relevant times, Phillips is and has been a citizen of the State of Kansas.
13                4.     Doe Defendants Should Be Disregarded
14         Pursuant to 28 U.S.C. § 1441(b)(1), the residence of fictitious and unknown
15   defendants should be disregarded for purposes of establishing removal jurisdiction under
16   28 U.S.C. §1332(a);. Fristos v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980)
17   (unnamed defendants are not required to join in a removal petition). Thus, the existence of
18   Doe defendants in this case does not deprive this Court of jurisdiction. Accordingly,
19   pursuant to 28 U.S.C. §1332(c), Plaintiff and the real Defendants, Kelly and Phillips, have
20   diverse citizenship.
21         B.     The Amount In Controversy Requirement Has Been Met
22                1.     Standard To Demonstrate Amount In Controversy
23         While Kelly denies any liability as to Plaintiff’s claims, the amount in controversy
24   requirement is satisfied because, “a defendant’s notice of removal need include only a
25   plausible allegation that the amount in controversy exceeds the jurisdiction threshold.”
26   Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547, 554 (2014). Kelly is
27   not obliged to “research, state, and prove the plaintiff’s claims for damages.” Singer v.
28   State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997); Conrad Assoc. v.

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                DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
        Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 13 of 18 Page ID #:13



 1   Hartford Accident & Indem. Co., 994 F. Supp. 1196, 1198 (N.D. Cal. 1998). Kelly can
 2   establish the amount in controversy by the allegations in the Complaint, or by setting forth
 3   facts in the notice of removal that demonstrate that the amount placed in controversy by
 4   Plaintiff exceeds the jurisdictional minimum. Singer, 116 F.3d at 377; Conrad Assoc., 994
 5   F. Supp. at 1198. As explained by the Ninth Circuit, “the amount-in-controversy inquiry in
 6   the removal context is not confined to the face of the complaint.” Valdez v. Allstate Ins.
 7   Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (finding that the Court may consider facts
 8   presented in the removal petition).
 9         Here, it is “more likely than not” that the amount exceeds the jurisdictional minimum
10   of $75,000. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 403-04 (9th Cir. 1996)
11   (applying preponderance of evidence standard to amount in controversy analysis). In
12   determining the amount in controversy, the Court must consider the aggregate of general
13   damages, special damages, compensatory damages, punitive damages and attorneys’ fees
14   where recoverable by law. See Guglielmino v. McKee Foods Corp., 506 F.3d 696, 700 (9th
15   Cir. 2007) (“Section 1332(a)’s amount-in-controversy requirement excludes only ‘interest
16   and costs.’”); Davenport v. Mutual Benefit Health & Accident Ass’n, 325 F.2d 785, 787
17   (9th Cir. 1963) (punitive damages must be taken into account where recoverable under
18   state law); Conrad Assocs. v. Hartford Accident & Ind. Co., 994 F. Supp. 1196, 1198 (N.D.
19   Cal. 1998) (“amount in controversy” includes claims for general and special damages). The
20   calculations supporting the amount in controversy are based on Plaintiff’s potential
21   recovery pursuant to the claims alleged in the Complaint, assuming, without any admission,
22   the truth of any of the allegations, and assuming liability (which is disputed) based on
23   Plaintiff’s theory of recovery.
24         In the Complaint, Plaintiff requests (1) compensatory damages, including losses
25   arising from mental and emotional distress; (2) general and special damages; (3) lost past
26   and future wages and benefits; (4) interest; (5) attorneys’ fees and costs; (6) restitution; (7)
27   injunctive relief, including reinstatement of position; and (8) punitive damages. Complaint
28   at Prayer for Relief, 6:23-7:6. In light of the expansive categories of damages sought by

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               DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
        Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 14 of 18 Page ID #:14



 1   Plaintiff, the amount in controversy in this action is more likely than not to exceed the
 2   $75,000 jurisdictional minimum.
 3                2.    Plaintiff’s Alleged Loss Of Earnings Exceeds $75,000
 4         Plaintiff is seeking alleged “lost past and future wages and benefits.” Id. at 6:26-27.
 5   On July 3, 2019, Plaintiff completed his temporary assignment with Kelly’s client, Phillips.
 6   Reyes Decl. at ¶8. Plaintiff’s last rate of pay with Kelly was $14.50 per hour, or
 7   approximately $2,513.33 per month (based on a 40 hour work week). Id. at ¶9.
 8         Based upon the date Plaintiff’s assignment with Phillips ended, July 3, 2019,
 9   Plaintiff’s claim for lost wages to date is approximately $60,320 ($2,513.33 per month x
10   24 months). Conservatively estimating a trial date in May 2022, approximately 12 months
11   after this Complaint was filed, approximately 35 months will have elapsed since the end of
12   Plaintiff’s assignment, totaling approximately $87,967 in alleged lost wages alone by the
13   time of trial ($2,513.33 per month x 35 months). This amount does not account for the
14   other special damages Plaintiff seeks, such as losses in employment benefits, which will
15   further increase the claim for special damages.
16         In addition to back pay, a plaintiff who prevails on a claim for wrongful termination
17   or discriminatory discharge of employment may be entitled to either reinstatement or an
18   award of “front pay” in lieu of reinstatement. See, e.g., Cassino v. Reichhold Chemicals,
19   Inc., 817 F.2d 1338, 1346 (9th Cir. 1997) (stating that a court has discretion to award front
20   pay in lieu of reinstatement); Secru v. Laboratory Corp. of America, No. 3:09–cv–0619–
21   LRH–RAM, 2009 WL 3755763, at * 2, n.3 (D. Nev. Nov. 9, 2009) (future lost wages alone
22   can satisfy amount in controversy); James v. Childtime Childcare, Inc., No. Civ. S-06-2676
23   DFL DAD, 2007 WL 1589543, at *2, n.1 (E.D. Cal. June 1, 2007) (while courts evaluate
24   the amount in controversy at the time of removal, future lost wages are properly considered
25   in that calculation); see also Crum v. Circus Circuit Enters., 231 F.3d 1129, 1131 (9th Cir.
26   2000) (future damages are properly considered in determining amount in controversy).
27         An award of three years’ front pay would entitle Plaintiff to $90,480 in additional
28   recovery. See Traxler v. Multnomah Cty., 569 F.3d 1007, 1015 (9th Cir. 2010) (upholding

                                        8
              DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
        Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 15 of 18 Page ID #:15



 1   district court’s decision to award nearly four years’ front pay in a wrongful termination
 2   suit); see also Glenn-Davis v. City of Oakland, No. C 02-2257 SI, 2008 WL 410239, *4
 3   (N.D. Cal. 2008) (finding three years of front pay “appropriate” in a discrimination suit);
 4   Ackerman v. Western Elec. Co., Inc., 643 F. Supp. 836, 856 (N.D. Cal. 1986) (same). Thus,
 5   Plaintiff’s allegations of lost wages alone exceed the $75,000 jurisdictional threshold.
 6                3.     General And Punitive Damages Exceed $75,000
 7         Although Kelly denies that it should be liable for any damages whatsoever in this
 8   case, assuming arguendo for the purposes of removal that Plaintiff prevails at trial, Plaintiff
 9   is also seeking general damages, as well as punitive damages. Complaint at Prayer for
10   Relief, 6:26-27, 7:5. Plaintiff alleges he has suffered and continues to suffer from severe
11   emotional distress. Id. at ¶18. Assuming Plaintiff seeks emotional distress damages at least
12   equal to his claimed economic damages, the estimated calculation of the amount in
13   controversy doubles to $175,933 before considering the amount of attorneys’ fees incurred
14   through trial or any award of punitive damages.
15         In Thompson v. Big Lots Stores, Inc., No. 1:16-cv-01464-LJO-JLT, 2017 WL
16   590261, *4 (E.D. Cal. 2017), the Eastern District of California made clear that “[i]n
17   determining the amount in controversy, a court may assess likely emotional distress
18   damages by reference to damages awards in similar discrimination cases.” Applying that
19   rule, the Thompson court found the defendant met its burden of showing that damages
20   awards for emotional distress in analogous cases are often substantial, where the defendant
21   pointed to a jury award of $122,000 in emotional distress damages to an employee who
22   sued for pregnancy discrimination and wrongful termination. Id.
23         In fact, such damages here may exceed $122,000. A review of jury verdicts in
24   California demonstrates as much. See, e.g., Aboulafia v. GACN Inc., No. BC469940, 2013
25   WL 8115991 (Los Angeles Sup. Ct.) (pain and suffering awards of $250,000, $250,000,
26   $250,000, and $250,267 to four employees in discrimination action); Ward v. Cadbury
27   Schweppes Bottling Grp., 09CV03279 (DMG), 2011 WL 7447633 (C.D. Cal) (jury award
28   $5,600,000 in non-economic damages in discrimination and retaliation case); Welch v. Ivy

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               DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
        Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 16 of 18 Page ID #:16



 1   Hill Corp., No. BC414667, 2011 WL 3293268 (Los Angeles Sup. Ct.) (award of
 2   $1,270,000 in pain and suffering to employee in discrimination action); Leimandt v. Mega
 3   RV Corp., No. 30-2010-00388086, 2011 WL 2912831 (Orange County Sup. Ct.) (jury
 4   awarded $385,000 in pain and suffering to employee in an discrimination case). These
 5   awards demonstrate that, for diversity purposes, the value of Plaintiff’s alleged emotional
 6   distress damages exceeds the $75,000 amount in controversy requirement.
 7         Plaintiff also seeks to recover punitive damages. Complaint at Prayer for Relief, 7:5.
 8   Requests for punitive damages must be taken into account in ascertaining the amount in
 9   controversy. Davenport v. Mutual Benefit Health and Accident Ass’n, 325 F.2d 785, 787
10   (9th Cir. 1963) (punitive damages must be taken into account where recoverable under
11   state law). “Because plaintiff brings a claim under FEHA, and ‘[p]unitive damages are
12   recoverable for FEHA violations,’ punitive damages may be included in the amount in
13   controversy here.” Thompson, 2017 WL 590261 at *4. The amount of punitive damages
14   awarded is based on the financial worth of the defendant, and is meant to punish the
15   defendant in such a way that it will have a tangible financial consequence. Without
16   conceding that punitive damages are appropriate or applicable here, for a defendant of
17   Kelly’s size, it is probable that a punitive damages award, if assessed, would exceed
18   $75,000.00.
19                 4.   Attorneys’ Fees Exceed $75,000
20         Plaintiff also seeks attorneys’ fees. Complaint at Prayer for Relief, 7:2. Attorney’s
21   fees are properly considered in calculating the amount-in-controversy for purposes of
22   removal on grounds of diversity jurisdiction. Galt, 142 F.3d at 1156 (claims for statutory
23   attorney’s fees to be included in amount in controversy, regardless of whether such an
24   award is discretionary or mandatory). Under California Government Code Section
25   12965(b), the court in its discretion may award fees and costs to the “prevailing party” in
26   FEHA actions. Although the statute provides that the court “may” award fees, cases hold
27   that a prevailing plaintiff is entitled to fees “absent circumstances that would render the
28   award unjust.” Horsford v. Bd. of Trs. of Cal. State Univ., 132 Cal. App. 4th 359, 394

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              DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
           Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 17 of 18 Page ID #:17



 1   (2005). The amount of attorneys’ fees for purposes of amount in controversy calculations
 2   is the expected reasonable attorneys’ fees through trial. Fritsch v. Swift Transp., 899 F.
 3   3d 785, 794 (9th Cir. 2018) (“a court must include future attorneys’ fees recoverable by
 4   statute or contract when assessing whether the amount-in-controversy requirement is
 5   met.”).
 6            Here, Plaintiff alleges retaliation in violation of the FEHA, and, if he prevails, he
 7   could be entitled to an award of attorney’s fees that alone are “more likely than not” to
 8   exceed $75,000, as is typical in employment discrimination cases. Indeed, verdicts in
 9   comparable cases show that attorneys’ fees typically exceed $75,000.00. See, e.g.,
10   Crawford v. DIRECTV, Inc., No. BC417507, 2010 WL 5383296 (Los Angeles County Sup.
11   Ct.) (approving attorneys’ fee award of $159,762.50 in alleged discrimination action);
12   Davis v. Robert Bosch Tool Corp., No. B185408, 2007 WL 2014301, *9 (Cal. Ct. App. 2d.
13   Dist. July 13, 2007) (individual plaintiff sought $1.6 million in fees); Denenberg v. Cal.
14   Dep’t of Transp., No. GIC836582, 2006 WL 5305734 (San Diego County Sup. Ct.)
15   (attorneys’ fees award of $490,000 for in case alleging discrimination, harassment, and
16   retaliation); Gallegos v. Los Angeles City College, 2003 WL 23336379, Case No.
17   SC270424 (Los Angeles County Sup. Ct. Oct. 16, 2003) (attorney’s fees award of
18   $159,277.00 for claim of discrimination and retaliation). Therefore, the inclusion of a claim
19   for attorneys’ fees also supports the conclusion that the amount in controversy in this matter
20   exceeds $75,000.00.
21            Consequently, because there is complete diversity of citizenship and the amount in
22   controversy satisfies the $75,000.00 threshold, this Court has original jurisdiction over this
23   action pursuant to 28 U.S.C. §§1332(a), and removal is proper.
24   IV.      VENUE
25            Venue lies in the United States District Court for the Central District of California,
26   pursuant to 28 U.S.C. §§84(c)(2), 1441, and 1446(a). This action originally was brought in
27   the Superior Court of the State of California, Orange County, which is located within the
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                 DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
           Case 2:21-cv-05497 Document 1 Filed 07/07/21 Page 18 of 18 Page ID #:18



 1   Central District of California. Therefore, venue is proper because it is the “district and
 2   division embracing the place where such action is pending.” 28 U.S.C. §1441(a).
 3   V.       SERVICE OF NOTICE OF REMOVAL ON PLAINTIFF AND THE CLERK
 4            OF THE SUPERIOR COURT
 5            Pursuant to 28 U.S.C. §1446(d), written notice of the filing of this Notice of Removal
 6   will be given promptly to Plaintiff and his counsel, and together with a copy of the Notice
 7   of Removal, will be filed with the Clerk of the Superior Court of the State of California,
 8   Orange County.
 9   VI.      PRAYER FOR REMOVAL
10            WHEREFORE, Kelly prays that this civil action be removed from the Superior
11   Court of the State of California, County of Orange, to the United States District Court for
12   the Central District of California.
13

14   DATED: July 7, 2021                         Respectfully submitted,
15                                               SEYFARTH SHAW LLP
16

17                                               By: /s/ Kiran Lopez
                                                    Jamie C. Pollaci
18                                                  Kiran S. Lopez
                                                    Attorneys for Defendant
19                                                  KELLY SERVICES USA, LLC
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                 DEFENDANT KELLY SERVICES USA, LLC’S NOTICE OF REMOVAL
